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                                      UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF MICHIGAN
                                           SOUTHERN DIVISION


        A.L.S. ENTERPRISES, INC.,

                         Plaintiff,
                  v.                                                  Case No. 1:14-cv-00500
                                                                      Hon. Gordon J. Quist
        ROBINSON OUTDOOR PRODUCTS, LLC,

                         Defendant.


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                          MOTION TO COMPEL PRODUCTION OF DOCUMENTS


                  Plaintiff A.L.S. Enterprises, Inc. (“A.L.S.”), by and through its attorneys, Varnum LLP

        and Foley & Lardner LLP, hereby moves this Court pursuant to Fed. R. Civ. P. 37 for an order

        compelling the defendant to: (1) supplement its answers to ALS’s interrogatories numbers two

        and three; (2) provide a written response to ALS’s third set of document requests; and (3) cure

        the deficiencies in its document productions to date, which are set forth in more detail in the


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        accompanying Brief in Support of Motion to Compel Production of Documents. ALS further

        requests that the Court enter a deadline for Robinson to comply with its order.

                  ALS certifies that it has in good faith conferred with Robinson in accordance with Fed.

        R. Civ. P. 37(a)(1) and Local Rule 7.1(d) in an attempt to resolve this dispute without court

        intervention. The efforts ALS made to resolve this dispute are set forth in the accompanying

        Brief.

                  Dated this 22nd day of July, 2015.

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